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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     )
                                             ) vs.
                                             )
                                             )
JACOB CHANSLEY,                              )
                                             )       Cause No.: 1:21-cr-00003
       Defendant                             )
                                             )


  DEFENDANT’S CONSENT TO UNSEALING OF MEMORANDUM OPINION AND
                                   ORDER
     COMES NOW Defendant, Jacob A. Chansley, by and through his undersigned counsel,

and hereby consents to the unsealing of the September 9, 2021 Memorandum Opinion and Order

entered by the Court herein [72].

                                             Respectfully Submitted,

                                             KODNER WATKINS

                                             By:_/s/ Albert S. Watkins____________
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                                CERTIFICATE OF SERVICE

        Signature above is also certification that on September 10, 2021, a true and correct copy
of the foregoing was electronically filed with the Clerk of the Court utilizing the CM/ECF
system which will send notification of such filing to all parties of record.




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